             Case 2:12-cv-01856-LKK-GGH Document 17 Filed 03/06/13 Page 1 of 2




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 8                               IN THE UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10   JEANNE M. HALL,

11                  Plaintiff,
             vs.                                  No. 2:12-cv-1856 LKK GGH PS
12

13   MOORETOWN RANCHERIA/
     FEATHER FALLS CASINO, et al.,
14
                    Defendants.                           ORDER
15                                           /

16                  A motion to dismiss filed by defendants Mooretown Rancheria/Feather Falls

17   Casino, Archuleta, McKinley, and Rasmussen presently is calendared for hearing on March 14,

18   2013. Having reviewed the record, the court has determined that oral argument would not be of

19   material assistance in determining the pending motion. Accordingly, the court will not entertain

20   oral argument, and will determine the motion on the record, including the briefing in support of

21   the pending motion. See E.D. Cal. L.R. 230(g).

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             Case 2:12-cv-01856-LKK-GGH Document 17 Filed 03/06/13 Page 2 of 2




 1                     Accordingly, IT IS ORDERED that:

 2                     1. The March 14, 2013 hearing on the motion to dismiss, filed February 4, 2013,

 3   is vacated; and

 4                     2. The motion is submitted on the record.

 5   DATED: March 6, 2013

 6                                       /s/ Gregory G. Hollows
                                 UNITED STATES MAGISTRATE JUDGE
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     GGH:076:Hall1856.vac.wpd
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